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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA, et al.,

                     Plaintiffs,

   v.                                                   Civil Action No. 1:23-cv-10511-WGY

 JETBLUE AIRWAYS CORPORATION and
 SPIRIT AIRLINES, INC.,

                     Defendants.



         PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION IN LIMINE
          TO ESTOP THE UNITED STATES AND OVERRULE OBJECTIONS

        In law, as in life, “particular facts and circumstances matter,” United States v. Davila,

569 U.S. 597, 611 (2013). Indeed, when considering the legality of a merger, the foundational

inquiry is always: how does competition present itself? That foundational inquiry under Section

7 of the Clayton Act requires a focus on context, facts, and circumstances.

        Defendants seek to use and relitigate the facts and circumstances from a different matter

recently decided by Judge Sorokin. See United States v. Am. Airlines Grp. Inc., No. 1:21-cv-

11558 (D. Mass.) (“the NEA Case”). There are indeed some similarities: both cases involve

JetBlue and its plans for partnering with or acquiring another airline and, in both cases, there are

material anticompetitive harms caused by JetBlue’s plans, including the risk of “coordinated

effects,” i.e., the risk that competitors may “coordinate their pricing without committing
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detectable violations of Section 1 of the Sherman Act, which forbids price fixing.” Hosp. Corp.

of Am. v. FTC, 807 F.2d 1381, 1387 (7th Cir. 1986).

       But there are also many meaningful differences between the two cases. Each case focuses

on the role different types of airlines play in the industry. The NEA Case centered on how

American Airlines (“AA”), a legacy carrier, would diminish the incentives of JetBlue to compete

vigorously. By contrast, this case involves an ultra-low-cost carrier (“ULCC”), Spirit, being

removed from the airline industry altogether, and its assets being converted to a higher cost

model. Two distinct propositions can both be true: (1) consumers benefit when JetBlue is a

standalone competitor without an intricate partnership agreement with a legacy airline, as was

argued in the NEA Case; and (2) consumers benefit from Spirit’s standalone presence in the

airline industry as the leading ULCC in the United States. At its core, the purpose of this case is

to determine whether a particular transaction—JetBlue’s acquisition of Spirit and removal of

Spirit’s business model from the market—may substantially lessen competition.1

       Beyond their failed efforts to identify any meaningful inconsistencies, Defendants’

Motion ignores three persistent themes across the plaintiffs’ theories of coordinated effects in

both cases:




1
 Defendants seek to divert attention from the facts and circumstances of this case and the
anticompetitive harm that will result if JetBlue is permitted to eliminate Spirit by instead broadly
accusing the United States of being motivated by an alleged “anti-merger zeal.” Dkt. 168 at 9.
Defendants’ statement is a misplaced plea for approval of an acquisition that will especially harm
cost conscious flyers. As with the NEA Case, in which JetBlue and AA were found to have
violated the antitrust laws, the United States, joined by seven sovereign state attorneys
general, brought this lawsuit because the facts of this particular deal demonstrate its potential
harm to competition—no more, no less.
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     The transaction at issue in each case (the NEA between AA and JetBlue, and

      JetBlue’s acquisition of Spirit) would increase JetBlue’s incentives to

      coordinate—rather than compete—with other airlines.

     There are unique customer segments in the airline industry, and not all airlines

      compete across all segments in the same ways. In the NEA Case, the inquiry

      focused on the fact that JetBlue uniquely competed as a maverick for certain

      customer segments; but the NEA dampened JetBlue’s incentives to compete

      against AA, even outside the NEA markets, in the “spirit of partnership.” In this

      case, the focus is on the unique, disruptive role Spirit plays in the industry,

      especially in serving cost-conscious customers, and how the elimination of

      Spirit’s unbundled product will result in the loss of both an important competitive

      constraint and meaningful option to passengers, which would not be replaced by

      JetBlue’s relatively higher cost, higher fare product.

     The JetBlue Effect is real, but the transaction at issue in each case (the NEA and

      JetBlue’s acquisition of Spirit) was or is likely to alter JetBlue’s incentives in a

      way that would lead to greater coordination and dampen that effect. NEA

      Plaintiffs argued that the NEA would increase JetBlue’s incentives to

      coordinate—rather than compete—with other airlines. See, e.g., Ex. A (NEA

      Compl.) ¶¶ 49, 50; Ex. B (NEA PFOF) ¶¶ 259–262. Here, Plaintiffs argue that the

      larger, combined JetBlue/Spirit would have more incentive to coordinate with

      other airlines than either carrier would on a standalone basis. Am. Compl. (Dkt.

      69) ¶ 54.




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Because the United States’ positions are consistent across both the NEA Case and this one,

application of estoppel is unwarranted (if available at all), and Defendants’ motion should be

denied.

                                           BACKGROUND

          In 2021, the NEA Plaintiffs (i.e., the United States; the District of Columbia; the States of

Arizona, California, and Florida; and the Commonwealths of Massachusetts, Pennsylvania, and

Virginia) sued to enjoin the Northeast Alliance (the “NEA”) between AA and JetBlue. NEA

Plaintiffs succeeded. See United States v. Am. Airlines Grp. Inc., No. 1:21-cv-11558-LTS, 2023

WL 3560430, at *2–3 (D. Mass. May 19, 2023) (Sorokin, J.). The court there determined in part

that “by aligning its interest with” AA, “JetBlue has sacrificed a degree of its independence and

weakened its status as an important ‘maverick’ competitor in the industry.” Id. at *34. It

concluded that such alignment “amplifie[d] the anticompetitive effects flowing from the NEA’s

transformation of” AA and JetBlue “from competitors into collaborators,” thereby “reduc[ing]

JetBlue’s independence and undermin[ing] its status as an important ‘maverick’ competitor.” Id.

at *34, *36.

          In March 2023, the Plaintiffs here (i.e., the United States; the Commonwealth of

Massachusetts; the District of Columbia; and the States of California, Maryland, New Jersey,

New York, and North Carolina) sued to enjoin JetBlue’s proposed acquisition of Spirit, the

largest ULCC in the country. See Dkt. 69. Plaintiffs seek to enjoin the transaction based on

myriad theories of harm, including: (1) the elimination of head-to-head competition between

JetBlue and Spirit; (2) the heightened risk that remaining airlines would coordinate to raise




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prices; and (3) the elimination of Spirit’s product offerings as an economical choice for

travelers.2

        Both the NEA Case and the present case challenge proposals to eliminate competition in

the passenger airline industry, but the threat the NEA posed to competition is different than that

created by JetBlue’s acquisition of Spirit. As Judge Sorokin’s opinion described, JetBlue and

AA’s agreement “eliminated the once vigorous competition between two of the four largest

domestic carriers in the northeast, replacing it with broad cooperation in pursuit of the shared

interests of” the NEA. Am. Airlines, 2023 WL 3560430, at *32. In so doing, the court found that

JetBlue had sacrificed some of its independence and thus weakened its competitive position in

the industry, which amplified the anticompetitive effects of the NEA. Id. at *34. Here, rather

than sacrificing JetBlue’s independence by aligning it with AA, the challenged combination

“would eliminate the largest and fastest-growing ultra-low-cost carrier in the United States” and

alter JetBlue’s incentives to more closely align with legacy carriers: Spirit. Dkt. 69 at 2.

                                       LEGAL STANDARD

        Judicial estoppel “prevents a litigant from pressing a claim that is inconsistent with a

position taken by that litigant either in a prior legal proceeding or in an earlier phase of that same

legal proceeding.” InterGen N.V. v. Grina, 344 F.3d 134, 144 (1st Cir. 2003). “Courts are prone

to invoke it when a litigant is playing fast and loose with the courts, and not otherwise.” Id.

(citation and internal quotations omitted).

        Claims of judicial estoppel against a government enforcer implicate special concerns that

advise against the doctrine’s application. “If estoppel against the government possesses any




2
 Notably, nowhere in Defendants’ memorandum do they address how estoppel could apply to
the State Plaintiffs who were not parties in the NEA Case.
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viability . . ., the phenomenon occurs only in the most extreme circumstances.” Dantran, Inc. v.

U.S. Dep’t. of Labor, 171 F.3d 58, 66 (1st Cir. 1999); accord Nagle v. Acton-Boxborough

Regional Sch. Dist., 576 F.3d 1, 3 (1st Cir. 2009) (“[G]overnments . . . have been held not

subject to estoppel, save exceptional situations that we have called ‘hen’s-teeth rare.’”) (internal

citation omitted). At a minimum, it is “well settled that the Government may not be estopped on

the same terms as any other litigant.” Heckler v. Cmty. Health Servs. of Crawford Cnty., Inc.,

467 U.S. 51, 60 (1984). Rather, estoppel against governments is “hen’s-teeth rare,” Nagle, 576

F.3d at 3, because “broad interests of public policy may make it important to allow a change of

positions that might seem inappropriate as a matter of merely private interests,” especially when

“estoppel would compromise a governmental interest in enforcing the law.” New Hampshire v.

Maine, 532 U.S. 742, 755 (2001) (internal citation and quotations omitted).

       If it applies at all here, judicial estoppel requires proof of at least two elements: (1) “the

estopping position and the estopped position must be directly inconsistent, that is, mutually

exclusive,” and (2) “the responsible party must have succeeded in persuading a court to accept its

prior position.” Alt. Sys. Concepts, Inc. v. Synopsys, Inc., 374 F.3d 23, 33 (1st Cir. 2004); see

also id. at 34 (applying judicial estoppel where positions were “totally inconsistent”). Moreover,

because judicial estoppel is an “equitable doctrine” designed primarily to “prevent[] parties from

improperly manipulating the machinery of the judicial system,” Guay v. Burack, 677 F.3d 10, 16

(1st Cir. 2012), “[a] third consideration is whether the party seeking to assert an inconsistent

position would derive an unfair advantage or impose an unfair detriment on the opposing party if

not estopped.” New Hampshire, 532 U.S. at 751.

                                           ARGUMENT




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    A.      Judicial Estoppel Does Not Apply Against the Government in the Present
            Circumstances

         Applying judicial estoppel would not be appropriate here because Plaintiffs are

exercising their civil law enforcement authority. Constraining the exercise of that power through

judicial estoppel would create a risk that “the Government is unable to enforce the law” and thus

“the interest of the citizenry as a whole in obedience to the rule of law is undermined.” Heckler,

467 U.S. at 60. This is especially so given the “risk that inconsistency will be found where there

is none.” 13H Wright & Miller, Federal Practice and Procedure § 4477.3 (3d ed. 2023). For

these reasons, courts “have left open the possibility of estoppel against the Government only in a

rather narrow possible range of circumstances.” Heckler, 467 U.S. at 68 (Rehnquist, J.,

concurring). Defendants cite no authority to the contrary. Indeed, they marshal no case—and the

United States is aware of none—in which the United States or its state co-plaintiffs were

estopped from making purportedly inconsistent arguments in establishing its case in a civil law

enforcement context.3 The Court should not break new ground by being the first.

    B.      The Conditions for Judicial Estoppel Are Not Satisfied.

         Judicial estoppel does not apply to any of the NEA Case statements identified in

Defendants’ Motion because all of those statements are consistent with the positions Plaintiffs

have taken in this case, and Plaintiffs would derive no “unfair advantage” from taking those

positions. The statements at issue fall into three categories: (1) statements regarding the so-called

“JetBlue Effect,” which is the increased demand and lower fares historically created by JetBlue’s

entry into a market dominated by legacy airlines, (2) statements about JetBlue’s position in the



3
  Defendants cite to Cuyahoga Metropolitan Housing Authority v. United States, 65 Fed. Cl. 534
(2005) for a collection of cases “finding that judicial estoppel should apply against the Federal
Government,” but neither Cuyahoga nor any of the cases cited for this proposition therein pertain
to the United States acting in its law enforcement capacity.
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airline industry and its corresponding incentives to coordinate with competitors, and (3)

statements by Plaintiffs’ economic expert, Dr. Gautam Gowrisankaran, about JetBlue.

               i.      Statements Regarding the JetBlue Effect

       Plaintiffs’ treatment of the JetBlue Effect in this case is consistent with the NEA

Plaintiffs’ treatment: the JetBlue Effect exists, and it yields consumer benefits; but it is neither

inexorable nor static, and agreements that would tend to diminish the JetBlue Effect may harm

consumers. The NEA Plaintiffs argued and introduced evidence showing that the JetBlue Effect

was threatened because JetBlue and AA—a higher-cost legacy airline—would stop competing in

markets comprising 75% of JetBlue’s network, compromising JetBlue’s maverick status,

changing its incentives, and dampening the JetBlue Effect. Plaintiffs in this case acknowledge

the JetBlue Effect, but also will present evidence regarding the “Spirit Effect”—Spirit’s own

unique ability to increase demand and lower fares in markets it enters. Plaintiffs’ expert Dr.

Gowrisankaran quantified both the JetBlue Effect and the Spirit Effect in calculating the net

harm from the proposed acquisition and the replacement of Spirit by JetBlue in markets currently

served by Spirit. See, e.g., Ex. C (Gowrisankaran Dep. Tr.) at 230:8-20. Here, the Spirit Effect is

not simply threatened, but will be eliminated altogether. See, e.g., Dkt. 69 ¶ 2 (“Where JetBlue

and Spirit compete, travelers win—customers enjoy the benefits of both the Spirit and JetBlue

Effects, fares go down, and more Americans can afford trips they could not before.”). With the

elimination of Spirit, not only will JetBlue’s closest ULCC competitor be eliminated, but the

entire industry will have one less competitor to constrain prices.

       Defendants contend that the United States’ positions are inconsistent because if the

JetBlue Effect is real, then it would be inconsistent to oppose any acquisition by JetBlue since

any such acquisition would “spread the disruptive force of the JetBlue Effect.” Dkt. 168 at 4–5.



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Dr. Gowrisankaran will show, however, that replacing Spirit with JetBlue will result in a net

harm for consumers, with cost-conscious passengers who purchase the lowest-priced fares

bearing the brunt of the harm. Defendants’ reasoning is also flawed because the incentives

underlying the JetBlue Effect are not static—they are the product of then-existing competitive

conditions at any given time. Defendants’ proposal to change those conditions through

consolidation would endanger these incentives by eliminating competitive pressure on JetBlue—

and the entire airline industry—while simultaneously enabling JetBlue to behave even more like

a legacy carrier. On this point, the United States has been consistent. In the NEA Case, the

Plaintiffs pointed out that JetBlue’s cost structure was looking more like that of a legacy carrier,

see, e.g., Ex. B (NEA PFOF) ¶ 370, and the court there found that “JetBlue’s business model and

cost structure have evolved over time.” Am. Airlines, 2023 WL 3560430, at *6. Similarly, here,

Dr. Gowrisankaran explained that JetBlue’s effect on lowering the fares of legacy carriers has

diminished over time, and that JetBlue more closely resembles a legacy carrier today than it did

before. Ex. C (Gowrisankaran Dep. Tr.) at 107:14–108:6.

               ii.     Statements Regarding JetBlue’s “Unique Position” in the Airline
                       Industry

       The United States’ arguments about JetBlue’s market position and incentives to

coordinate with competitors has also been consistent: JetBlue has historically constrained legacy

carriers’ pricing, but JetBlue is also susceptible to coordination with those airlines because the

airline industry is concentrated and certain aspects of the passenger airline market make it easier

for airlines to coordinate with one another. See, e.g., Ex. B (NEA PFOF) ¶¶ 352–368 (explaining

why the airline industry—including JetBlue—is susceptible to coordination).

       For example, as the United States and its co-Plaintiffs explained in NEA, an airline can

tacitly coordinate pricing decisions with competitors by “highlight[ing] fare changes to other

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airlines” through a fare-pricing distribution channel called ATPCO—a practice known as

“flashing.” Id. ¶ 365. The Proposed Findings of Fact in the NEA Case provided examples of

JetBlue engaging in this kind of price signaling with legacy airlines. See, e.g., id. ¶ 365

(describing an incident where JetBlue pricing analyst was going to “flash” American to

encourage American to change a fare). Moreover, a mechanism for enforcing coordinated

outcomes (often called “punishment”) makes coordination more likely, and because airlines

regularly compete with each other across many different routes, they can “punish” each other on

one route to try to restore coordinated outcomes (i.e., lower competition) on another route. Once

again, NEA Plaintiffs provided examples of JetBlue engaging in this practice with legacy

airlines. See, e.g., id. ¶ 364 (describing an instance in which JetBlue “intentionally chose” a fare

“identical to American’s fare” to punish American for competing too intensely on one of

JetBlue’s routes). Coordination in the airline industry is not just theoretical; it is very real. For

example, as another court recently found, domestic airlines “admittedly and openly” engaged in

the parallel conduct of capacity discipline for many years “with the effect that diminished

capacity resulted in higher industry profits.” In re Domestic Airline Travel Antitrust Litig., -- F.

Supp. 3d --, 2023 WL 5930973, at *33 (D.D.C. Sept. 12, 2023).

        The United States has carried those same positions forward here. As in the NEA Case,

Plaintiffs contend here that JetBlue both: (1) constrains legacy airline pricing, and (2) is

susceptible to anticompetitive coordination in ways that would be exacerbated by the proposed

acquisition. In the NEA Case, the risk of coordination with legacy airlines was exacerbated by

JetBlue forming an alliance with the largest of those airlines (AA), whereas here, the risk of

coordination is exacerbated because a larger, combined JetBlue/Spirit would have more incentive

to coordinate with other airlines than either carrier would on a standalone basis.



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       Defendants’ arguments for estoppel on this point also fail because they do not account for

the differing context of the NEA Case and this one, and they rest on the mistaken premise that a

“maverick” is immune from incentives to coordinate. Namely, Defendants contend that, because

the United States has taken the position that JetBlue is a disruptive maverick to legacy airlines, it

is precluded from contending that JetBlue is susceptible to coordination. Dkt. 168 at 4–5. That

argument fails for three reasons. First, as discussed above, given that the United States took the

position in the NEA Case that JetBlue was susceptible to coordination, there is no inconsistency.

Second, being a “maverick” is not an immutable characteristic; it is a business strategy designed

to earn profits. Just like any other firm, when a “maverick” is presented with incentives to

increase profits through coordination, rather than disruption, it will rationally act on those

incentives. Acting as a maverick does not insulate a firm from the allure of profitable

coordination, as JetBlue’s history demonstrates, and so it is perfectly consistent to contend that a

firm is both a maverick and susceptible to coordination. Third, as Defendants’ economic expert

acknowledged, it is consistent to argue that JetBlue and Spirit each play their own uniquely

disruptive role because it is possible for an industry to have more than one maverick, and

different maverick firms can have different effects within the industry. Ex. D (Hill Dep. Tr.) at

25:21–26:4. At bottom, the proposed transaction poses an increased likelihood of coordinated

effects because it simultaneously eliminates one unique maverick—Spirit—and diminishes the

incentives of JetBlue to act as a maverick.

               iii.    Estoppel Does Not Apply to the Testimony of Dr. Gowrisankaran

       Estoppel does not apply to the expert testimony of Dr. Gowrisankaran. As a threshold

matter, opinions of an expert witness are not attributable to the party that retained that expert for

purposes of estoppel. See, e.g., Kirk v. Raymark Indus., Inc., 61 F.3d 147, 164 (3d Cir. 1995)



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(“Since an expert witness is not subject to the control of the party opponent with respect to

consultation and testimony he or she is hired to give, the expert witness cannot be deemed an

agent.”). Therefore, Dr. Gowrisankaran is free to express his independent opinions, and the

doctrine of estoppel cannot be applied to muzzle those opinions. More importantly, estoppel does

not apply because Dr. Gowrisankaran’s opinions highlighted by Defendants (Dkt. 168 at 5–6) as

supposed inconsistencies with NEA Plaintiffs’ arguments, are in fact consistent with those

arguments. Dr. Gowrisankaran’s statements at issue fall into three categories: (1) statements

about whether JetBlue is “disruptive;” (2) statements about whether entry from JetBlue

disciplines the pricing of legacy airlines; and (3) statements about whether JetBlue differentiates

itself from lower-cost airlines by offering higher-quality service.

       First, as to JetBlue’s “disruptive” presence, Dr. Gowrisankaran explained that, in

economics, terms like “disruptive” and “maverick” are not fixed and can change as the

incentives of firms characterized as such change. Ex. C (Gowrisankaran Dep. Tr.) at 106:21–

107:4. As explained above, those statements comport with the United States’ position in the

NEA Case that JetBlue had historically acted as a maverick because of its then-existing

incentives, but that its role in the industry had begun to change, as indicated by, e.g., its

willingness to coordinate, rather than compete with AA via the NEA.

       Second, as to JetBlue’s effect on legacy airlines’ prices, Dr. Gowrisankaran

acknowledges that there is a JetBlue Effect, but he also opined that the existence and magnitude

of the effect depends on the route in question, and the effect overall has diminished over time.

See, e.g., Ex. C (Gowrisankaran Dep. Tr.) at 105:5-16, 106:21–108:6. Those views are aligned

with the NEA Plaintiffs’ position in the NEA Case that the JetBlue Effect is real, but also that

JetBlue’s constraining effect on the airline industry was endangered by changing market



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conditions, including its own choices. See, e.g., Ex. B (NEA PFOF) ¶¶ 369–371. Defendants

contend otherwise by cherry-picking a single statement from Dr. Gowrisankaran’s deposition

about JetBlue fares being “similar to legacy carriers,” but that statement concerned an analysis of

a subset of fares in markets where Spirit offers nonstop service. Dr. Gowrisankaran’s statement

was not—as Defendants imply—a broad statement about JetBlue’s fares generally.

       Third, as to the quality of JetBlue’s service, Dr. Gowrisankaran acknowledged that

JetBlue differentiates itself from other low-cost carriers by offering features like complementary

snacks and more leg room, but he also recognized that, in the field of economics, “there are

different dimensions of quality,” and that the differentiating features of JetBlue might not appeal

to all airline customers equally. See Ex. C (Gowrisankaran Dep. Tr.) at 89:9–92:15. This is one

area where context is especially important because the concept of “high-quality service” is often

in the eye of the beholder and has a different implication here than it did in the NEA Case. In the

NEA Case, quality focused on how JetBlue’s differentiated offerings, such as its business-class

product, Mint, allowed JetBlue to compete with legacy airlines for first-class and corporate

customers who low-cost airlines are normally not well-suited to serve. By contrast, in this case,

quality focuses on customers choosing between JetBlue and Spirit who, unlike first-class and

corporate customers, are influenced primarily by the price of a ticket, rather than non-price

offerings. In the eyes of this latter group of customers, the “high-quality service” JetBlue uses to

attract business customers might be less attractive (and more expensive) than Spirit’s unbundled

offering.

       C. Admissibility of NEA Evidence

       This case should be tried on the basis of whether the JetBlue/Spirit transaction violates

the antitrust laws, not on the basis of re-litigating what was already decided in the NEA Case.



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Defendants’ proffered evidence from the NEA Case would be nothing more than a sideshow here

because, as demonstrated above, the two cases are different in several respects. Defendants’

attempt to inject the NEA Case into this one should be rejected because the NEA Case does not

help Defendants, and evidence about it would distract from the issues that require determination.

       Defendants also ask the Court to admit certain “evidence from the NEA Case.” Dkt. 168

at 13.4 Defendants assert these “prior statements in the NEA Case” may be judicially noticed,

“are admissible as party admissions,” and that Rule 403 does not bar their admission. Dkt. 168 at

11–13. Plaintiffs oppose these requests.

       Plaintiffs objected to the admission of the entirety of voluminous filings NEA Plaintiffs

made because much of those filings are not relevant to this case and reflect confidential third-

party materials. Defendants failed to confer with Plaintiffs about the specific material they

believed were relevant and instead seek to admit these filings in their entirety. As discussed

above, the excerpts from these materials cited by Defendants do not reveal any inconsistencies

between Plaintiffs’ positions in this case, and Plaintiffs do not object to the Court’s consideration

of the provisions cited by Defendants. However, Plaintiffs do object to the admission of the

entirety of these documents as irrelevant, cumulative, and a waste of time under Rule 403.

       Plaintiffs do not dispute that “federal courts, in appropriate circumstances, may take

notice of proceedings in other courts.” E.I. DuPont de Nemours & Co., Inc. v. Cullen, 791 F.2d

5, 7 (1st Cir. 1986) (quoting St. Louis Baptist Temple, Inc. v. FDIC, 605 F.3d 1169, 1172 (10th

Cir. 1979)). A court may not, however, generally take judicial notice of such documents for the




4
  Of note, Defendants do not identify which documents from the NEA Case they seek to admit;
instead, they refer to “DOJ’s prior statements in the NEA Case,” “NEA Case filings,” and
“[s]tatements by the DOJ in the NEA Case.” See Dkt. 168 at 12–13.


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truth of the matter asserted therein. See, e.g., Barnstable City v. 3M Co., No. 17-40002, 2017 WL

6452245, at *5 (D. Mass. Dec. 18, 2017); Goguen ex rel. Estate of Goguen v. Textron, Inc., 234

F.R.D. 13, 19 (D. Mass. 2006). Plaintiffs have no objection to the Court taking judicial notice of

the fact that NEA Plaintiffs filed the Proposed Findings of Fact, Complaint, and briefing cited by

Defendants in their motion. As noted above, Plaintiffs stand by the statements cited as consistent

with the allegations made in this case and do not object to the Court taking judicial notice of the

fact they were made, but judicial notice of such filings does not “assume the truth” of their

contents. Barnstable, 2017 WL 6452245, at *5.

       Finally, Defendants’ request is premature. In accordance with the Scheduling and Case

Management Order (“SCMO”) (Dkt. 79), the Parties exchanged initial exhibit lists on August 17,

2023, followed by supplemental exhibit lists on September 8, 2023. Dkt. 79 at 2. During the

week of September 4, 2023, the Parties conferred via telephone and agreed that the meet-and-

confer process regarding exhibit objections would begin in earnest the week of September 18,

2023. Defendants filed their motion requesting admissibility about documents for which the

Parties have not met and conferred, and without the benefit of such process to talk through issues

absent judicial intervention. The SCMO requires the Parties submit their final trial exhibits to the

Court on October 16, 2023. Accordingly, Defendants’ request for admission of certain evidence

is not yet ripe for the Court’s consideration.

                                          CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request that the Court deny Defendants’

Motion (Dkt. 167).




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Dated: September 20, 2023        Respectfully submitted,

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                                 Columbia, and on behalf of all Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that the foregoing document, which was filed with the Court through the

CM/ECF system, will be sent electronically to all registered participants as identified on the

Notice of Electronic Filing.

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